
BRYAN, Judge,
concurring specially.
I concur with the main opinion. I write specially to state that my vote to affirm the summary judgment in favor of the defendants is not meant as a condonation of the insensitive manner in which J.C. was removed from the foster parents’ care. I recognize that the Alabama DHR is charged with an extremely difficult task— protecting children throughout the State with finite resources, both financial and human. However, that is no excuse for how the foster parents were treated in this case. It is hard to believe how anyone could have imagined that the disruption caused by J.C.’s transfer would be minimized by informing the foster parents in the manner chosen. The only positive aspect of this case is that, hopefully, DHR will never proceed in like manner again.
